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            Sealed                                                                   United States Courts
Public and unofficial staff access   UNITED STATES DISTRICT COURT                  Southern District of Texas
     to this instrument are                                                                 FILED
   prohibited by court order          SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION                              May 14, 2025
                                                                                 Nathan Ochsner, Clerk of Court

            UNITED STATES OF AMERICA,

                    v.                                           CRIMINAL NO.____________
                                                                             4:25-cr-00245
            JOSE FRANCISCO GARCIA-MARTINEZ,
            a/k/a “Paco,”                                         INDICTMENT
                                                                  18 U.S.C. § 2
            JAMES MICHAEL BREWER,                                 18 U.S.C. § 922(g)
            a/k/a “Creeper,”                                      18 U.S.C. § 924(c)(1)(A)
                                                                  21 U.S.C. § 841(a)(1)
            JONATHAN ALVARADO,                                    21 U.S.C. § 841(b)(1)(A)
            a/k/a “Joker,”                                        21 U.S.C. § 841(b)(1)(B)
                                                                  21 U.S.C. § 841(b)(1)(C)
            ENZO XAVIER DOMINGUEZ,
                                                                  21 U.S.C. § 841(b)(2)
            a/k/a “Smiley,”
                                                                  21 U.S.C. § 846
            ALEXIS DELGADO,                                       21 U.S.C. § 952
            a/k/a “Chino,”                                        21 U.S.C. § 960

            HECTOR LUIS LOPEZ,                                    FORFEITURE
            a/k/a “Capulito,”

            JOSE EDUARDO MORALES,
            a/k/a “Primo,”                                     [FILED UNDER SEAL]

            WILLIAM ALEXANDER LAZO,
            a/k/a “Miclo,”

            KYLIE RAE ALVARADO,

            RUBY MATA,

            MEXI DYAN GARCIA,
            a/k/a “Mexi,”

            ALFREDO GOMEZ,
            a/k/a “Fredo,”

            MARCOS RENE SIMAJ-GUCH,
            a/k/a “Taco Man,”

            VICTOR NORRIS ELLISON, and

            JESUS GOMEZ RODRIGUEZ
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 a/k/a “JR.”

               Defendants.




THE GRAND JURY CHARGES:

                                          COUNT ONE

                            Title 21, United States Code, § 846
 Conspiracy to Possess with the Intent to Distribute and Distribute a Controlled Substance

       Beginning on a date unknown to the Grand Jury, but from at least on or about April 1,

2022, and continuing until on or about the date of this indictment, in the Southern District of Texas

and elsewhere within the jurisdiction of the Court, Defendants, JOSE FRANCISCO GARCIA-

MARTINEZ, a/k/a “Paco,” JAMES MICHAEL BREWER, a/k/a “Creeper,” JONATHAN

ALVARADO, a/k/a “Joker,” ENZO XAVIER DOMINGUEZ, a/k/a “Smiley,” ALEXIS

DELGADO, a/k/a “Chino,” HECTOR LUIS LOPEZ, a/k/a “Capulito,” JOSE EDUARDO

MORALES, a/k/a “Primo,” WILLIAM ALEXANDER LAZO, a/k/a “Miclo,” KYLIE RAE

ALVARADO, RUBY MATA, MEXI DYAN GARCIA, a/k/a “Mexi,” ALFREDO GOMEZ,

a/k/a “Fredo,” MARCOS RENE SIMAJ-GUCH, a/k/a “Taco Man,” VICTOR NORRIS

ELLISON, and JESUS GOMEZ RODRIGUEZ, a/k/a “JR.,” did knowingly and intentionally

conspire and agree with each other, and others known and unknown to the Grand Jury, to possess

with intent to distribute and to distribute various controlled substances, including

methamphetamine, its salts, isomers, and salts of its isomers; a mixture and substance containing

a detectable amount of methamphetamine, its salts, isomers, and salts of its isomers; a mixture and

substance containing a detectable amount of cocaine, its salts, optical and geometric isomers, and
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salts of isomers; a mixture and substance containing a detectable amount of cocaine base (“crack

cocaine”); and a mixture and substance containing a detectable amount of Oxycodone, all Schedule

II controlled substances; a mixture and substance containing a detectable amount of heroin; a

mixture and substance containing a detectable amount of marijuana; and a mixture and substance

containing a detectable amount of psilocybin mushrooms, all Schedule I controlled substances;

and a quantity of Alprazolam (“Xanax”), a Schedule IV controlled substance. All in violation of

Title 21, United States Code, Sections 841(a)(1) and 846.



                                 QUANTITY ATTRIBUTIONS

                                       Methamphetamine

       Defendants JOSE FRANCISCO GARCIA-MARTINEZ, a/k/a “Paco,” JAMES

MICHAEL BREWER, a/k/a “Creeper,” JONATHAN ALVARADO, a/k/a “Joker,” ENZO

XAVIER DOMINGUEZ, a/k/a “Smiley,” ALEXIS DELGADO, a/k/a “Chino,” HECTOR

LUIS LOPEZ, a/k/a “Capulito,” JOSE EDUARDO MORALES, a/k/a “Primo,” WILLIAM

ALEXANDER LAZO, a/k/a “Miclo,” KYLIE RAE ALVARADO, RUBY MATA, MEXI

DYAN GARCIA, a/k/a “Mexi,” and JESUS GOMEZ RODRIGUEZ, a/k/a “JR.,” knew from

their own conduct as members of the conspiracy charged in Count One, and from the readily

foreseeable conduct of other members of that conspiracy, that the conspiracy involved a quantity

of at least 50 grams of methamphetamine, its salts, isomers, and salts of its isomers, and at least

500 grams of a mixture and substance containing a detectable amount of methamphetamine and

its salts, isomers, and salts of its isomers, both Schedule II controlled substances, in violation of

Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A)(viii).




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       Defendants ALFREDO GOMEZ, a/k/a “Fredo,” and MARCOS RENE SIMAJ-

GUCH, a/k/a “Taco Man,” knew from their own conduct as members of the conspiracy charged

in Count One, and from the readily foreseeable conduct of other members of that conspiracy, that

the conspiracy involved a quantity of at least 5 grams of methamphetamine, its salts, isomers, and

salts of its isomers, and at least 50 grams of a mixture and substance containing a detectable amount

of methamphetamine, its salts, isomers, and salts of its isomers, Schedule II controlled substances,

in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B)(viii) .

                                     Cocaine and Cocaine Base

       Defendants JOSE FRANCISCO GARCIA-MARTINEZ, a/k/a “Paco,” JAMES

MICHAEL BREWER, a/k/a “Creeper,” and JONATHAN ALVARADO, a/k/a “Joker,”

knew from their own conduct as members of the conspiracy charged in Count One, and from the

readily foreseeable conduct of other members of that conspiracy, that the conspiracy involved a

quantity of at least 5 kilograms of a mixture and substance containing a detectable amount of

cocaine, its salts, optical and geometric isomers, and salts of isomers, and at least 280 grams of a

mixture and substance containing a detectable amount of cocaine base (“crack cocaine”), both

Schedule II controlled substances, in violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(A)(ii) and (iii).

       Defendants ALEXIS DELGADO, a/k/a “Chino,” HECTOR LUIS LOPEZ, a/k/a

“Capulito,” MEXI DYAN GARCIA, a/k/a “Mexi,” and VICTOR NORRIS ELLISON, knew

from their own conduct as members of the conspiracy charged in Count One, and from the readily

foreseeable conduct of other members of that conspiracy, that the conspiracy involved a quantity

of at least 500 grams of a mixture and substance containing a detectable amount of cocaine, its

salts, optical and geometric isomers, and salts of isomers, and at least 28 grams of a mixture and



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substance containing a detectable amount of cocaine base (“crack cocaine”), both Schedule II

controlled substances, in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(B)(ii) and (iii).

                                            Heroin

        Defendants JAMES MICHAEL BREWER, a/k/a “Creeper,” and RUBY MATA, knew

from their own conduct as members of the conspiracy charged in Count One, and from the readily

foreseeable conduct of other members of that conspiracy, that the conspiracy involved a quantity

of at least 1 kilogram of a mixture and substance containing a detectable amount of heroin, a

Schedule I controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(A)(i).

                                        COUNT TWO

                        Title 21, United States Code, Section 841(a)(1)
                  Possession with Intent to Distribute a Controlled Substance

        On or about November 10, 2022, in the Southern District of Texas, Defendants WILLIAM

ALEXANDER LAZO, a/k/a “Miclo,” and ALFREDO GOMEZ, a/k/a “Fredo,” aided and

abetted by one another, and others known and unknown to the Grand Jury, did knowingly and

intentionally possess with intent to distribute a mixture and substance containing a detectable

amount of psilocybin mushrooms and a mixture and substance containing a detectable amount of

marijuana, both Schedule I controlled substances; a mixture and substance containing a detectable

amount of methamphetamine, its salts, isomers, and salts of its isomers; a mixture and substance

containing a detectable amount of cocaine, its salts, optical and geometric isomers; and salts of

isomers, and a mixture and substance containing a detectable amount of cocaine base (“crack

cocaine”), all Schedule II controlled substances; and a quantity of Alprazolam (“Xanax”) a

Schedule IV controlled substance,

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       All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C), and
841(b)(2) and Title 18, United States Code, Section 2.

                                       COUNT THREE

                         Title 18, United States Code, Section 924(c)
            Possession of a Firearm in Furtherance of a Drug Trafficking Crime

       On or about November 10, 2022, in the Southern District of Texas, Defendants WILLIAM

ALEXANDER LAZO, a/k/a “Miclo,” and ALFREDO GOMEZ, a/k/a “Fredo,” aided and

abetted by one another, and others known and unknown to the Grand Jury, did knowingly possess

at least one firearm, to wit, an Anderson Manufacturing AM-15 rifle and a FN Herstal Five-Seven

5.7x28mm handgun, in furtherance of a drug trafficking crime for which he may be prosecuted in

a court of the United States, namely knowingly and intentionally possessing with intent to

distribute a controlled substance, in violation of 21 U.S.C. § 841(a)(1), as charged in Count Two

of this indictment,

       All in violation of Title 18, United States Code, Section 924(c)(1)(A).

                                        COUNT FOUR

                         Title 18, United States Code, § 922(g)(1)
                       Possession of a Firearm by a Convicted Felon

       On or about November 10, 2022, in the Southern District of Texas, Defendant ALFREDO

GOMEZ, a/k/a “Fredo,” knowing that he had been convicted of a crime punishable by

imprisonment for a term exceeding one year, knowingly possessed at least one firearm, to wit, an

Anderson Manufacturing AM-15 rifle and a FN Herstal Five-Seven 5.7x28mm handgun, said

firearm having been shipped and transported in interstate and foreign commerce,

       All in violation of Title 18, United States Code, Sections 922(g)(1).




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                                         COUNT FIVE

                       Title 21, United States Code, Section 841(a)(1)
                 Possession with Intent to Distribute a Controlled Substance

       On or about November 16, 2022, in the Southern District of Texas, Defendants JAMES

MICHAEL BREWER, a/k/a “Creeper,” and ALFREDO GOMEZ, a/k/a “Fredo,” aided and

abetted by one another, and others known and unknown to the Grand Jury, did knowingly and

intentionally possess with intent to distribute a mixture and substance containing a detectable

amount of psilocybin mushrooms, and a mixture and substance containing a detectable amount of

marijuana, both Schedule I controlled substances; at least 50 grams of a mixture and substance

containing a detectable amount of methamphetamine, its salts, isomers, and salts of its isomers; a

mixture and substance containing a detectable amount of cocaine, its salts, optical and geometric

isomers, and salts of isomers; and a mixture and substance containing a detectable amount of

cocaine base (“crack cocaine”), all Schedule II controlled substances; and a quantity of Alprazolam

(“Xanax”), a Schedule IV controlled substance,

        All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(B) and
(b)(1)(C), and 841(b)(2) and Title 18, United States Code, Section 2.

                                          COUNT SIX

                         Title 18, United States Code, Section 924(c)
            Possession of a Firearm in Furtherance of a Drug Trafficking Crime

       On or about November 16, 2022, in the Southern District of Texas, Defendants JAMES

MICHAEL BREWER, a/k/a “Creeper” and ALFREDO GOMEZ, a/k/a “Fredo,” aided and

abetted by one another, and others known and unknown to the Grand Jury, did knowingly possess

at least one firearm, to wit, an Anderson Manufacturing AM-15 rifle and a FN Herstal Five-Seven

5.7x28mm handgun, in furtherance of a drug trafficking crime for which he may be prosecuted in

a court of the United States, namely knowingly and intentionally possessing with intent to

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distribute a controlled substance, in violation of 21 U.S.C. § 841(a)(1), as charged in Count Five

of this indictment,

       All in violation of Title 18, United States Code, Section 924(c)(1)(A).

                                     COUNT SEVEN

                          Title 18, United States Code, § 922(g)(1)
                        Possession of a Firearm by a Convicted Felon

       On or about November 16, 2022, in the Southern District of Texas, Defendant ALFREDO

GOMEZ, a/k/a “Fredo,” knowing that he had been convicted of a crime punishable by

imprisonment for a term exceeding one year, knowingly possessed at least one firearm, to wit, an

Anderson Manufacturing AM-15 rifle and a FN Herstal Five-Seven, 5.7x28mm handgun, said

firearm having been shipped and transported in interstate and foreign commerce,

       All in Violation of Title 18, United States Code, Section 922(g)(1).


                                     COUNT EIGHT

                          Title 18, United States Code, § 922(g)(1)
                        Possession of a Firearm by a Convicted Felon

       On or about April 3, 2023, in the Southern District of Texas, Defendant JONATHAN

ALVARADO, a/k/a “Joker,” knowing that he had been convicted of a crime punishable by

imprisonment for a term exceeding one year, knowingly possessed at least one firearm, to wit, a

Century Arms International 1911 handgun, said firearm having been shipped and transported in

interstate and foreign commerce,

       All in Violation of Title 18, United States Code, Section 922(g)(1).




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                                         COUNT NINE

                       Title 21, United States Code, Section 841(a)(1)
                 Possession with Intent to Distribute a Controlled Substance

       On or about June 28, 2023, in the Southern District of Texas, Defendant RUBY MATA,

aided and abetted by others known and unknown to the Grand Jury, did knowingly and

intentionally possess with intent to distribute at least 50 grams of methamphetamine, its salts,

isomers, and salts of its isomers, a Schedule II controlled substance; and at least 100 grams of a

mixture and substance containing a detectable amount of heroin, a Schedule I controlled substance,

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A)
and (b)(1)(B), and Title 18, United States Code, Section 2.

                                         COUNT TEN

                      Title 21, United States Code, Sections 952 and 960
                            Importation of a Controlled Substance

       On or about June 28, 2023, in the Southern District of Texas, Defendant RUBY MATA,

aided and abetted by others known and unknown to the Grand Jury, did intentionally and

knowingly import into the United States, from the country of Mexico, at least 50 grams of

methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II controlled substance;

and at least 100 grams of a mixture and substance containing a detectable amount of heroin, a

Schedule I controlled substance,

       All in violation of Title 21, United States Code Sections 952(a), 960(b)(1)(H), and
960(b)(2)(A), and Title 18, United States Code, Section 2.




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                                      COUNT ELEVEN

                        Title 21, United States Code, Section 841(a)(1)
                  Possession with Intent to Distribute a Controlled Substance

       On or about September 27, 2023, in the Southern District of Texas, Defendant JAMES

MICHAEL BREWER, a/k/a “Creeper,” did knowingly and intentionally possess with intent to

distribute a mixture and substance containing a detectable amount of marijuana, and a mixture and

substance containing a detectable amount of psilocybin mushrooms, both Schedule I controlled

substances,

       All in violation of Title 21, United States Code, Sections 841(a)(1), and 841(b)(1)(C.

                                      COUNT TWELVE

                           Title 18, United States Code, Section 924(c)
              Possession of a Firearm in Furtherance of a Drug Trafficking Crime

       On or about September 27, 2023, in the Southern District of Texas, Defendant JAMES

MICHAEL BREWER, a/k/a “Creeper,” did knowingly possess at least one firearm, to wit, a

Glock .40 caliber handgun, in furtherance of a drug trafficking crime for which he may be

prosecuted in a court of the United States, namely knowingly and intentionally possessing with

intent to distribute a controlled substance, in violation of 21 U.S.C. § 841(a)(1), as charged in

Count Eleven of this indictment,

       All in violation of Title 18, United States Code, Section 924(c)(1)(A).




                                   COUNT THIRTEEN

                          Title 18, United States Code, § 922(g)(1)
                        Possession of a Firearm by a Convicted Felon

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       On or about September 27, 2023, in the Southern District of Texas, Defendant JAMES

MICHAEL BREWER, a/k/a “Creeper,” knowing that he had been convicted of a crime

punishable by imprisonment for a term exceeding one year, knowingly possessed at least one

firearm, to wit, a .40 caliber Glock handgun, said firearm having been shipped and transported in

interstate and foreign commerce,

       All in Violation of Title 18, United States Code, Section 922(g)(1).

                                      COUNT FOURTEEN

                       Title 21, United States Code, Section 841(a)(1)
                 Possession with Intent to Distribute a Controlled Substance

       On or about November 15, 2023, in the Southern District of Texas, Defendants JOSE

FRANCISCO GARCIA-MARTINEZ, a/k/a “Paco,” ENZO XAVIER DOMINGUEZ, a/k/a

“Smiley,” and KYLIE RAE ALVARADO, aided and abetted by one another, and others known

and unknown to the Grand Jury, did knowingly and intentionally possess with intent to distribute,

and did distribute, at least 5 grams of methamphetamine, its salts, isomers, and salts of its isomers,

a Schedule II controlled substance,

        All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(B), and
Title 18, United States Code, Section 2.




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                                       COUNT FIFTEEN

                       Title 21, United States Code, Section 841(a)(1)
                 Possession with Intent to Distribute a Controlled Substance

       Between on or about December 10, 2023, and on or about December 11, 2023, in the

Southern District of Texas, Defendants JOSE FRANCISCO GARCIA-MARTINEZ, a/k/a

“Paco,” ENZO XAVIER DOMINGUEZ, a/k/a “Smiley” and KYLIE RAE ALVARADO,

aided and abetted by one another, and others known and unknown to the Grand Jury, did knowingly

and intentionally possess with intent to distribute, and did distribute, at least 50 grams of

methamphetamine, its salts, isomers, and salts of its isomers, and a mixture and substance

containing a detectable amount of methamphetamine, its salts, isomers, and salts of its isomers,

both Schedule II controlled substances,

       All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A) and
841(b)(1)(C), and Title 18, United States Code, Section 2.

                                       COUNT SIXTEEN

                       Title 21, United States Code, Section 841(a)(1)
                 Possession with Intent to Distribute a Controlled Substance

       On or about January 18, 2024, in the Southern District of Texas, Defendants JOSE

FRANCISCO GARCIA-MARTINEZ, a/k/a “Paco,” ENZO XAVIER DOMINGUEZ, a/k/a

“Smiley,” and KYLIE RAE ALVARADO, aided and abetted by one another, and others known

and unknown to the Grand Jury, did knowingly and intentionally possess with intent to distribute

and did distribute at least 5 grams of methamphetamine, its salts, isomers, and salts of its isomers,

and a mixture and substance containing a detectable amount of methamphetamine, its salts,

isomers, and salts of its isomers, both Schedule II controlled substances,

       All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(B), and
841(b)(1)(C), and Title 18, United States Code, Section 2.



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                                     COUNT SEVENTEEN

                       Title 21, United States Code, Section 841(a)(1)
                 Possession with Intent to Distribute a Controlled Substance

       Between on or about February 27, 2024, and on or about February 28, 2024, in the Southern

District of Texas, Defendants JOSE FRANCISCO GARCIA-MARTINEZ, a/k/a “Paco,”

ENZO XAVIER DOMINGUEZ, a/k/a “Smiley,” JOSE EDUARDO MORALES, a/k/a

“Primo,” WILLIAM ALEXANDER LAZO, a/k/a “Miclo,” and KYLIE RAE ALVARADO,

aided and abetted by one another and others known and unknown to the Grand Jury, did knowingly

and intentionally possess with intent to distribute, and did distribute, at least 50 grams of

methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II controlled substance,

        All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A), and
Title 18, United States Code, Section 2.

                                          COUNT EIGHTEEN

                           Title 21, United States Code, Section 841(a)(1)
                     Possession with Intent to Distribute a Controlled Substance

       Between on or about May 11, 2024, and on or about May 14, 2024, in the Southern District

of Texas, Defendants JAMES MICHAEL BREWER, a/k/a “Creeper,” ALEXIS DELGADO,

a/k/a “Chino,” HECTOR LUIS LOPEZ, a/k/a “Capulito,” and MEXI DYAN GARCIA, a/k/a

“Mexi,” aided and abetted by one another and others known and unknown to the Grand Jury, did

knowingly and intentionally possess with intent to distribute, and did distribute, at least 50 grams

of methamphetamine, its salts, isomers, and salts of its isomers; a mixture and substance containing

a detectable amount of cocaine, its salts, optical and geometric isomers, and salts of isomers; and

at least 28 grams of a mixture and substance containing a detectable amount of cocaine base

(“crack cocaine”), all Schedule II controlled substances,




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       All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A),
841(b)(1)(B), and 841(b)(1)(C), and Title 18, United States Code, Section 2.

                                      COUNT NINETEEN

                       Title 21, United States Code, Section 841(a)(1)
                 Possession with Intent to Distribute a Controlled Substance

       On or about June 5, 2024, in the Southern District of Texas, Defendant MARCOS RENE

SIMAJ-GUCH, a/k/a “Taco Man,” aided and abetted by others known and unknown to the

Grand Jury, did knowingly and intentionally possess with intent to distribute, and did distribute, a

mixture and substance containing a detectable amount of methamphetamine, its salts, isomers, and

salts of its isomers, a Schedule II controlled substance,

        All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C), and
Title 18, United States Code, Section 2

                                       COUNT TWENTY

                       Title 21, United States Code, Section 841(a)(1)
                 Possession with Intent to Distribute a Controlled Substance

       On or about July 3, 2024, in the Southern District of Texas, Defendant JONATHAN

ALVARADO, a.k.a. “Joker,” did knowingly and intentionally possess with intent to distribute a

mixture and substance containing a detectable amount of marijuana, a Schedule I controlled

substance; and a mixture and substance containing a detectable amount of Alprazolam, a Schedule

IV controlled substance,

       All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C) and
841(b)(2).
                                   COUNT TWENTY-ONE

                         Title 18, United States Code, Section 924(c)
            Possession of a Firearm in Furtherance of a Drug Trafficking Crime

       On or about July 3, 2024, in the Southern District of Texas, Defendant JONATHAN

ALVARADO, a.k.a. “Joker,” did knowingly possess at least one firearm, to wit,

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       a.      Glock 19 9 mm handgun,
       b.      Glock 17 9 mm handgun,
       c.      FN Herstal Five-Seven, 5.7 x 28 caliber handgun, and
       d.      Century Arms, Inc., 7.62 x 39 mm Micro Draco pistol,

in furtherance of a drug trafficking crime for which he may be prosecuted in a court of the United

States, namely knowingly and intentionally possessing with intent to distribute a controlled

substance, in violation of 21 U.S.C. § 841(a)(1), as charged in Count Twenty of this indictment,

       All in violation of Title 18, United States Code, Section 924(c)(1)(A).


                                COUNT TWENTY-TWO

                          Title 18, United States Code, § 922(g)(1)
                        Possession of a Firearm by a Convicted Felon

       On or about July 3, 2024, in the Southern District of Texas, Defendant, JONATHAN

ALVARADO, a.k.a. “Joker,” knowing that he had been convicted of a crime punishable by

imprisonment for a term exceeding one year, knowingly possessed at least one firearm, to wit,

       a.      Glock 19 9 mm handgun,
       b.      Glock 17 9 mm handgun,
       c.      FN Herstal Five-Seven, 5.7 x 28 caliber handgun, and
       d.      Century Arms, Inc., 7.62 x 39 mm Micro Draco pistol,

said firearm having been shipped and transported in interstate and foreign commerce,

       All in violation of Title 18, United States Code, Sections 922(g)(1).

                              COUNT TWENTY-THREE

                         Title 18, United States Code, Section 924(c)
            Possession of a Firearm in Furtherance of a Drug Trafficking Crime

       On or about August 2, 2024, in the Southern District of Texas, Defendant ALEXIS

DELGADO, a/k/a “Chino,” did knowingly possess at least a firearm, to wit, a Century Arms,

Inc., 7.62 x 39mm Micro Draco in furtherance of a drug trafficking crime for which he may be


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prosecuted in a court of the United States, namely knowingly and intentionally conspiring to

possess with intent to distribute and distribute controlled substances, in violation of 21 U.S.C. §§

841(a)(1), 846, as charged in Count One,

       All in violation of Title 18, United States Code, Sections 924(c)(1)(A).


                                   COUNT TWENTY-FOUR

                       Title 21, United States Code, Section 841(a)(1)
                 Possession with Intent to Distribute a Controlled Substance

       On or about August 29, 2024, in the Southern District of Texas, Defendants ALEXIS

DELGADO, a/k/a “Chino,” and JESUS GOMEZ RODRIGUEZ a/k/a “JR,” aided and abetted

by one another and others known and unknown to the Grand Jury, did knowingly and intentionally

possess with intent to distribute, and did distribute, at least 50 grams of methamphetamine, its

salts, isomers, and salts of its isomers, a Schedule II controlled substance,

        All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A), and
Title 18, United States Code, Section 2.

                                    COUNT TWENTY-FIVE

                       Title 21, United States Code, Section 841(a)(1)
                 Possession with Intent to Distribute a Controlled Substance

       On or about December 19, 2024, in the Southern District of Texas, Defendants JAMES

MICHAEL BREWER, a/k/a “Creeper,” ALEXIS DELGADO, a/k/a “Chino,” and VICTOR

NORRIS ELLISON, aided and abetted by one another and others known and unknown to the

Grand Jury, did knowingly and intentionally possess with intent to distribute and did distribute a

mixture and substance containing a detectable amount of marijuana, Schedule I Controlled

Substances; at least 500 grams of a mixture and substance containing a detectable amount of

cocaine, its salts, optical and geometric isomers, and salts of its isomers, and a detectable amount



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of Oxycodone, both Schedule II controlled substances; and a quantity of Alprazolam (“Xanax”), a

Schedule IV controlled substance,

        All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(B), 841
(b)(2) and Title 18, United States Code, Section 2.

                                    COUNT TWENTY-SIX

                           Title 18, United States Code, Section 924(c)
              Possession of a Firearm in Furtherance of a Drug Trafficking Crime

       On or about December 19, 2024, in the Southern District of Texas, Defendants JAMES

MICHAEL BREWER, a/k/a “Creeper,” ALEXIS DELGADO, a/k/a “Chino,” and VICTOR

NORRIS ELLISON, aided and abetted by one another and others known and unknown to the

Grand Jury, did knowingly possess at least one firearm, to wit,

       a.       Century Arms, Inc.,7.62x39mm Micro Draco pistol,
       b.       Glock 43 9mm handgun,
       c.       9mm handgun with no make or model, with serial number
       d.       Colt MKII 0.38 special revolver,
       g.       S&W Model 637 0.38 caliber special revolver, and
       h.       F.lli Pietta 0.44 caliber revolver,

in furtherance of a drug trafficking crime for which he may be prosecuted in a court of the United

States, namely knowingly and intentionally possessing with intent to distribute a controlled

substance, in violation of 21 U.S.C. § 841(a)(1), as charged in Count Twenty-Five of this

indictment,

       All in violation of Title 18, United States Code, Sections 924(c)(1)(A) and 2.


                               COUNT TWENTY-SEVEN

                          Title 18, United States Code, § 922(g)(1)
                        Possession of a Firearm by a Convicted Felon

       On or about December 19, 2024, in the Southern District of Texas, Defendant JAMES



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MICHAEL BREWER, a/k/a “Creeper,” knowing that he had been convicted of a crime

punishable by imprisonment for a term exceeding one year, knowingly possessed at least one

firearm, to wit,

        a.         Century Arms, Inc.,7.62x39mm Micro Draco pistol,
        b.         Glock 43 9mm handgun,
        c.         9mm handgun with no make or model, with serial number
        d.         Colt MKII 0.38 special revolver,
        g.         S&W Model 637 0.38 caliber special revolver, and
        h.         F.lli Pietta 0.44 caliber revolver,

said firearm having been shipped and transported in interstate and foreign commerce,

        All in Violation of Title 18, United States Code, Section 922(g)(1).

                                 COUNT TWENTY-EIGHT

                             Title 18, United States Code, § 922(g)(1)
                           Possession of a Firearm by a Convicted Felon

        On or about December 19, 2024, in the Southern District of Texas, Defendant VICTOR

NORRIS ELLISON, knowing that he had been convicted of a crime punishable by imprisonment

for a term exceeding one year, knowingly possessed at least one firearm, to wit,

        a.         Century Arms, Inc., 7.62x39mm Micro Draco pistol,
        b.         Glock 43 9mm handgun,
        c.         9mm handgun with no make or model, with serial number
        d.         Colt MKII 0.38 special revolver,
        g.         S&W Model 637 0.38 caliber special revolver, and
        h.         F.lli Pietta 0.44 caliber revolver,

said firearm having been shipped and transported in interstate and foreign commerce,

        All in Violation of Title 18, United States Code, Section 922(g)(1).


                                  COUNT TWENTY-NINE

                             Title 18, United States Code, § 922(g)(1)
                           Possession of a Firearm by a Convicted Felon


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       On or about March 22, 2025, in the Southern District of Texas, Defendant HECTOR

LOPEZ, a/k/a “Capulito,” knowing that he had been convicted of a crime punishable by

imprisonment for a term exceeding one year, knowingly possessed a firearm, to wit, a Smith &

Wesson 380 handgun, said firearm having been shipped and transported in interstate and foreign

commerce,

       All in Violation of Title 18, United States Code, Section 922 (g)(1).


                          NOTICE OF CRIMINAL FORFEITURE

                          Title 21, United States Code, Section 853(a)

       Pursuant to Title 21, United States Code, Section 853(a), as a result of the commission of

a violation of Title 21, United States Code, Sections 846 and 841(a)(1), 841(b)(1)(A),

841(b)(1)(B), and 841(b)(1)(C), as alleged in Counts One, Two, Five, Nine, Eleven, Fourteen,

Fifteen, Sixteen, Seventeen, Eighteen, Nineteen, Twenty and Twenty-Five of the Indictment,

notice is given to the Defendants,

                         JOSE FRANCISCO GARCIA-MARTINEZ,
                                    a/k/a “Paco,”

                                JAMES MICHAEL BREWER,
                                     a/k/a “Creeper,”

                                     JONATHAN ALVARADO,
                                         a/k/a “Joker,”

                               ENZO XAVIER DOMINGUEZ,
                                     a/k/a “Smiley,”

                                      ALEXIS DELGADO,
                                        a/k/a “Chino,”

                                     HECTOR LUIS LOPEZ,
                                       a/k/a “Capulito,”

                                JOSE EDUARDO MORALES,
                                      a/k/a “Primo,”

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                               WILLIAM ALEXANDER LAZO,
                                      a/k/a “Miclo,”

                                   KYLIE RAE ALVARADO,

                                          RUBY MATA,

                                     MEXI DYAN GARCIA,
                                        a/k/a “Mexi,”

                                      ALFREDO GOMEZ,
                                        a/k/a “Fredo,”

                                MARCOS RENE SIMAJ-GUCH,
                                    a/k/a “Taco Man,”

                               VICTOR NORRIS ELLISON, and

                                 JESUS GOMEZ RODRIGUEZ
                                        a/k/a “JR.”

that the following is subject to forfeiture: (1) all property constituting, or derived from, any

proceeds obtained, directly or indirectly, as the result of such violation; and (2) all property used,

or intended to be used, in any manner or part, to commit, or to facilitate the commission of, such

violation. The allegations contained in Counts One, Two, Five, Nine, Eleven, Fourteen, Fifteen,

Sixteen, Seventeen, Eighteen, Nineteen, Twenty and Twenty-Five of this Indictment are realleged

and incorporated by reference for the purpose of alleging a forfeiture pursuant to the provisions of

Title 21, United States Code, Section 853.

                        Title 18, United States Code, Section 924(d) and
                         Title 28, United States Code, Section 2461(c)

       Pursuant to Title 18, United States Code, Section 924(d) and Title 28, United States Code,

Section 2461(c), as a result of the commission of a violation of Title 18, United States Code,

Sections 922 and 924 as alleged in Counts Three, Four, Six, Seven, Eight, Twelve, Thirteen,

Twenty-One, Twenty-Two, Twenty-Three, Twenty-Six, Twenty-Seven, Twenty-Eight and Twenty-

Nine of the Indictment, notice is given to the Defendants,

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                                 JAMES MICHAEL BREWER,
                                      a/k/a “Creeper,”

                                   JONATHAN ALVARADO,
                                       a/k/a “Joker,”

                                      ALEXIS DELGADO,
                                        a/k/a “Chino,”

                                    HECTOR LUIS LOPEZ,
                                      a/k/a “Capulito,”

                               WILLIAM ALEXANDER LAZO,
                                      a/k/a “Miclo,”

                                    ALFREDO GOMEZ, and
                                        a/k/a “Fredo,”

                                 VICTOR NORRIS ELLISON,


that all firearms and ammunition involved in or used in the commission of such violations are

subject to forfeiture. The allegations contained in Counts Three, Four, Six, Seven, Eight, Twelve,

Thirteen, Twenty-One, Twenty-Two, Twenty-Three, Twenty-Six, Twenty-Seven, Twenty-Eight

and Twenty-Nine are re-alleged and incorporated by reference as though set forth fully herein for

the purpose of alleging forfeiture pursuant to the provisions of Title 18, United States Code,

Section 924(d), and Title 28, United States Code, Section 2461(c).

       Upon conviction of the firearms offenses alleged in these Counts, each Defendant shall

forfeit to the United States such property including, but not limited to:

   A) Anderson Manufacturing AM-15 rifle, bearing serial number 21406737,
   B) FN Herstal Five-Seven, 5.7 x 28 caliber handgun, bearing serial number 386409266,
   C) FN Herstal Five-Seven, 5.7 x 28 caliber handgun, bearing serial number 386444095,
   D) Century Arms International 1911 handgun, bearing serial number M451391,
   E) Glock .40 caliber handgun, bearing serial number BVVP355,
   F) Glock 19 9 mm handgun, bearing serial number BFSF033,
   G) Glock 17 9 mm handgun, bearing serial number BEAV809,
   H) Century Arms, Inc., 7.62 x 39 mm Micro Draco pistol, bearing serial number PMD-
      22120-20 ROA,

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   I) Century Arms, Inc., 7.62x39mm Micro Draco pistol, bearing serial number ROA 21-
      PMD-27596,
   J) Glock 43 9mm handgun, bearing serial number BCYZ900,
   K) 9mm handgun with no make or model, bearing serial number JJE64461,
   L) Colt MKII 0.38 special revolver, bearing serial number J15172,
   M) S&W Model 637 0.38 caliber special revolver, bearing no serial number,
   N) F.lli Pietta 0.44 caliber revolver, bearing serial number 461569, and
   O) Smith & Wesson 380 handgun, bearing serial number KHL2744


all in accordance with Title 18, United States Code, Section 924(d); Title 21, United States Code,

Section 853; Title 28, United States Code, Section 2461(c); and Rule 32.2(a) of the Federal Rules

of Criminal Procedure.

                                       MONEY JUDGMENT

       Defendants are notified that, upon conviction, a monetary judgment may be imposed equal

to the total value of the property subject to forfeiture and proceeds obtained, directly or indirectly,

as a result of each defendant’s participation in the offenses.

                                        SUBSTITUTE ASSETS

        Defendants are notified that in the event that property subject to forfeiture, as a result

of any act or omission any defendant,

       (A) cannot be located upon the exercise of due diligence;

       (B) has been transferred or sold to, or deposited with, a third party;

       (C) has been placed beyond the jurisdiction of the court;

       (D) has been substantially diminished in value; or

       (E) has been commingled with other property that cannot be divided without difficulty,

it is the intent of the United States to seek forfeiture of any other property of the defendant up to

the total value of such property pursuant to Title 21, United States Code, Section 853(p),

incorporated by reference in Title 28, United States Code, Section 2461(c).


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                                          A TRUE BILL


                                          GRAND JURY FOREPERSON




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Southern District of Texas



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